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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                 Respondent,                   No. CR S-97-0017 FCD KJM P

12          vs.

13   LEWIS TAM,

14                 Movant.                       ORDER

15                                        /

16                 Movant, a federal prisoner proceeding pro se, asks that the court vacate, set aside

17   or correct his sentence under 28 U.S.C. § 2255. Movant seeks leave to add a claim that his

18   sentence has been rendered unconstitutional by the Supreme Court’s recent decision in Blakely v.

19   Washington, 542 U.S. 296 (2004). Direct review concluded with respect to movant’s conviction

20   on April 24, 2001 when time expired for movant to seek a writ of certiorari in the Supreme

21   Court.1 The Ninth Circuit Court of Appeals has recently held that Blakely cannot be used as

22   basis to provide relief to those whose convictions became final before Blakely was decided.

23   Schardt v. Payne, 414 F.3d 1025 (9th Cir. 2005). Therefore, movant’s request for leave to amend

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                The Ninth Circuit Court of Appeals affirmed movant’s convictions and sentences on
     January 24, 2001. See Docket Entry #313. Movant then had ninety days to seek a writ of
26   certiorari. Sup. Ct. R. 13.

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 1   will be denied.

 2                     The court has reviewed the court’s file and determined that the court needs the

 3   briefs filed in the Ninth Circuit Court of Appeals pertaining to movant’s direct appeal in order to

 4   resolve movant’s § 2255 motion. The court will order respondent to provide the court with those

 5   briefs within ten days.

 6                     Accordingly, IT IS HEREBY ORDERED that:

 7                     1. Movant’s November 4, 2004 motion for leave to file an amended 28 U.S.C.

 8   § 2255 motion is denied; and

 9                     2. Respondent shall file with the court, within ten days of this order, the briefs

10   that were filed in the Ninth Circuit Court of Appeals pertaining to movant’s direct appeal (Ninth

11   Circuit Case Number 99-10346).

12   DATED: August 17, 2005.

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                                                        UNITED STATES MAGISTRATE JUDGE
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